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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

GREGORY TEACHEY,
                                                  Case No. 18-cv-10740 (LJL)(KHP)
                             Plaintiff,
                                                  NOTICE OF MOTION FOR
              v.                                  SUMMARY JUDGMENT
EQUINOX HOLDINGS, INC.,

                             Defendant.

        PLEASE TAKE NOTICE that, upon the accompanying Declarations of Leo Mongiovi,
Darnell Serrette, and Devjani H. Mishra, the exhibits annexed thereto, Defendant’s Rule 56.1
Statement of Undisputed Material Facts, the accompanying Memorandum of Law in Support of
Defendant’s Motion for Summary Judgment, and all other pleadings and filings in this action,
Defendant Equinox Holdings, Inc., moves this Court, before the Honorable Lewis J. Liman,
United States District Court Judge, at the United Stated District Courthouse for the Southern
District of New York, located at 500 Pearl Street, New York, NY 10007, for an order pursuant to
Rule 56 of the Federal Rules of Civil Procedure granting Defendant’s Motion for Summary
Judgment, dismissing the Complaint in its entirety on the ground that there are no genuine issues
of material fact requiring a trial, entering judgment for Defendant, and granting Defendant such
other relief as the Court deems just, proper and equitable.

       PLEASE TAKE FURTHER NOTICE that in accordance with the Court’s order dated
April 29, 2020, opposing affidavits and answering memoranda shall be served on or before June
29, 2020, and reply affidavits and memoranda of law shall be served on or before July 13, 2020.

Dated: May 15, 2020
       New York, New York
                                                  /s/ Devjani H. Mishra
                                                  Devjani H. Mishra
                                                  Shawn Matthew Clark
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